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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND


 JOHN DOE,
                       Plaintiff,

 v.                                                         C.A. NO.: 18-106-MSM-LDA

 JOHNSON & WALES UNIVERSITY,
                Defendant.


      ASSENTED-TO MOTION OF DEFENDANT JOHNSON & WALES UNIVERSITY
       FOR AN ENLARGEMENT OF TIME TO FILE ITS REPLY MEMORANDUM

        Defendant Johnson & Wales University (“JWU”) respectfully moves for the Court’s

 allowance of an enlargement of time for the filing of JWU’s reply memorandum in support of its

 motion seeking reconsideration or, in the alternative, clarification of the Court’s Memorandum

 and Order entered on November 26, 2019. Currently, JWU’s reply memorandum is due on

 Tuesday, January 21, 2020. JWU requests an enlargement of its filing deadline to up to and

 including Tuesday, February 4, 2020.

        JWU requires additional time to review and address the citations in Plaintiff’s opposition

 memorandum. Additionally, the schedules of JWU’s counsel have limited their ability to complete

 their drafting of the reply memorandum within the current response period.

        Before filing this motion, JWU’s counsel conferred with Plaintiff’s counsel, and Plaintiff

 has no objection to the requested enlargement of JWU’s filing deadline to up to and including

 Tuesday, February 4, 2020.
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                                                      JOHNSON & WALES UNIVERSITY

                                                      By its Attorneys,

                                                      Jeremy Licht_____________
                                                      Jeremy Licht (#9518)
                                                      Johnson & Wales University
                                                      8 Abbott Park Place
                                                      Providence, RI 02903
                                                      Tel: (401) 598-1027
                                                      Fax: (401) 598-2240
                                                      jeremy.licht@jwu.edu

                                                      /s/ Steven M. Richard
                                                      Steven M. Richard (#4403)
                                                      Jeffrey S. Brenner (#4539)
                                                      Nixon Peabody LLP
                                                      One Citizens Plaza, Suite 500
                                                      Providence, RI 02903
                                                      Tel: (401) 454-1020
                                                      Fax: (401) 454-1030
                                                      srichard@nixonpeabody.com
                                                      jbrenner@nixonpeabody.com


 Dated: January 17, 2020

                                  CERTIFICATE OF SERVICE

         I certify that on, January 17, 2020, this assented-motion was filed and served
 electronically through the Court’s CM/ECF system.



                                                      /s/ Steven M. Richard




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